        Case 3:22-cv-01503-SRU                 Document 120            Filed 03/05/25         Page 1 of 3




                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT

CONLEY F. MONK, Jr. et al.,                                :
    Plaintiffs,                                            :
                                                           :
         v.                                                :            No. 3:22-cv-1503 (SRU)
                                                           :
THE UNITED STATES OF AMERICA,                              :            March 5, 2025
     Defendant.                                            :

         DEFENDANT’S RESPONSE TO PLAINTIFFS’ MOTION FOR A STATUS
                              CONFERENCE

         The United States respectfully requests that this Court deny Plaintiffs’ March 4, 2025

Motion for a Status Conference, ECF No. 119 (“Motion”), as Plaintiffs’ Motion is premature and

would unnecessarily burden this Court with intervening in discovery issues that the parties are

actively trying to resolve.

         Plaintiffs’ Motion purports to seeks Court resolution of two issues: a data sampling

proposal and Plaintiffs’ request for complaints dating back to 1945. On January 31, 2025, the

United States sent Plaintiffs a letter requesting, among other things, that Plaintiffs respond to the

United States’ inquiries regarding the sampling proposal and addressing Plaintiffs’ request for

complaints. Plaintiffs did not respond to this letter until February 20, 2025. 1 One of the letters

included in Plaintiffs’ February 20 response stated that:

                  “Plaintiffs have conferred more than once with Defendant about the
                  Plaintiffs’ sampling proposal and request for records of complaints.
                  As invited by Judge Underhill, Plaintiffs therefore intend to request
                  a telephonic discovery conference with the Court on these items.
                  Please let us know whether you consent.”

Feb. 20, 2025 Letter to the United States.




        1
          Plaintiffs’ February 20, 2025 response also included a response to a letter sent by the United States on
October 22, 2024.
       Case 3:22-cv-01503-SRU            Document 120        Filed 03/05/25       Page 2 of 3




       Four business days later, on February 26, 2025, Plaintiffs emailed the United States

requesting a conference on the issues raised in the letters and proposing times for such a conference

during the weeks of March 3 and March 10, 2025. The United States responded the following day,

stating that it was available to confer on these issues on March 11, one of the dates Plaintiffs

proposed. Plaintiffs did not respond to that email until the date of this filing – one day after they

filed their Motion.

       Nevertheless, the United States believed (having accepted a date and time proposed by

Plaintiffs) that a conference to attempt to resolve the issues addressed in these letters —including

Plaintiffs’ sampling proposal and their request for complaints— would occur on March 11, 2025.

Without further consulting the United States, Plaintiffs filed their instant Motion, seeking Court

intervention. The United States therefore respectfully submits that Plaintiffs’ motion is premature

and requests that it be denied by the Court to afford the parties the opportunity to attempt to resolve

these disputes through a good faith conference, as required by Fed. R. Civ. P. 26, Local Rule 37(a),

and as contemplated by this Court’s Standing Order.



                                                       Respectfully submitted,

                                                       YAAKOV ROTH
                                                       Acting Assistant Attorney General

                                                       MARK H. SILVERMAN
                                                       Acting United States Attorney

                                                       KIRSTEN WILKERSON
                                                       Director, Torts Branch

                                                       CHRISTOPHER R. BENSON
                                                       Assistant Director, Torts Branch

                                                       /s/ Irina M. Majumdar
                                                       Irina Majumdar (phv207971)

                                                  2
Case 3:22-cv-01503-SRU   Document 120    Filed 03/05/25     Page 3 of 3




                                   Trial Attorney
                                   United States Department of Justice
                                   Civil Division, Torts Branch
                                   Benjamin Franklin Station, P.O. Box 888
                                   Washington, DC 20044
                                   Telephone: (202) 598-5403
                                   Email: irina.m.majumdar@usdoj.gov

                                   Emily M. Kelley (phv207548)
                                   Trial Attorney
                                   United States Department of Justice
                                   Civil Division, Torts Branch
                                   Benjamin Franklin Station, P.O. Box 888
                                   Washington, DC 20044
                                   Telephone: (202) 616-4400
                                   Email: Emily.m.kelley@usdoj.gov

                                   Jillian Rose Orticelli (ct28591)
                                   Assistant United States Attorney
                                   450 Main Street, Rm. 328
                                   Hartford, CT 06103
                                   Tel.: (860) 947-1101
                                   Fax: (860) 760-7979
                                   Email: Jillian.Orticelli@usdoj.gov

                                   ATTORNEYS FOR DEFENDANT
                                   UNITED STATES OF AMERICA




                               3
